
USCA1 Opinion

	










          August 21, 1995
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


        No. 94-2164

                  UNITED STATES FIDELITY &amp; GUARANTY COMPANY, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                         BAKER MATERIAL HANDLING CORPORATION,

                                 Defendant, Appellee.

                                                    
                                  __________________



                                     ERRATA SHEET



             The opinion of  this Court, issued August 9, 1995,  is amended as
        follows:

             Cover sheet:  "David A. Berry" in place of "David W. Berry"







































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                                     
                                 ____________________

        No. 94-2164

                  UNITED STATES FIDELITY &amp; GUARANTY COMPANY, et al.,

                               Plaintiffs, Appellants,

                                          v.

                         BAKER MATERIAL HANDLING CORPORATION,

                                 Defendant, Appellee.

                                                     
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Richard G. Stearns, U.S. District Judge]
                                              ___________________

                                                     
                                 ____________________


                            Selya and Cyr, Circuit Judges,
                                           ______________

                     and Schwarzer,* Senior U.S. District Judge.
                                     __________________________

                                                     
                                 ____________________




             Michael  J. McCormack,  with whom  Marc LaCasse  and McCormack  &amp;
             _____________________              ____________      ____________
        Epstein were on brief for appellants.
        _______
             David W. Barry, with whom William L. Boesch and Sugarman, Rogers,
             ______________            _________________     _________________
        Barshak &amp; Cohen, P.C. were on brief for appellee.
        _____________________

                                                     
                                 ____________________

                                    August 9, 1995
                                                     
                                 ____________________




                            
        ____________________

             *Of the Northern District of California, sitting by designation.














                    CYR, Circuit Judge.   Plaintiffs United States Fidelity
                    CYR, Circuit Judge.
                         _____________

          &amp; Guaranty  Company ("USF&amp;G")1 and Jennifer  Chapman, administra-

          trix of  the  estate  of  Russell M.  Chapman,  Jr.  ("Chapman"),

          challenge district court rulings precluding their introduction of

          certain  evidence at trial and denying their motion for new trial

          or  relief  from  judgment in  a  wrongful  death  action against

          defendant-appellee Baker Material Handling Corporation ("Baker").

          We affirm.  


                                          I
                                          I

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    On January 5, 1990, Chapman sustained fatal injuries in

          a  phenomenon  known as  "rack  underride"  when  he was  crushed

          between a  warehouse shelf and the  back of the 1979  Baker Moto-

          Truck model XTR forklift ("XTR") which he was operating.  The XTR

          was  discontinued later in 1990  and replaced by  the Baker Reach

          Truck  forklift ("BRT"), first manufactured in  1987.  Unlike its

          predecessor,  the BRT-design  repositioned the  steering controls

          and incorporated vertical rear posts to protect the operator. 

                    Following Chapman's  death, USF&amp;G and  Jennifer Chapman

          ("appellants")  brought suit  in  Massachusetts  Superior  Court,

          claiming  that 1) Baker had  breached its duty  to warn Chapman's

          employer  of the danger of "rack  underride"; and (2) the lack of

          vertical  rear posts in the XTR (i) violated the implied warranty

          of merchantability  and (ii) rendered the XTR-design unreasonably
                              
          ____________________

               1USF&amp;G is  the workers' compensation  insurance carrier  for
          Chapman's employer.

                                          3














          dangerous.  Following the removal of the action to federal court,

          see 28 U.S.C.     1332, 1441(a), Baker responded in  the negative
          ___

          to interrogatories designed to disclose whether it had  ever been

          sued  for damages  arising  out of  a  similar XTR  incident  and

          whether  it  had  ever  modified an  XTR  forklift  by installing

          vertical  rear posts.    Approximately two  years later,  shortly

          before trial, Baker  again responded in  the negative to  similar

          supplemental interrogatories. 

                    As Baker  now concedes,  its responses  were materially

          incorrect.  It  had installed vertical rear posts in two XTRs for

          Boston Edison in 1987, and later that year sold Boston Edison two

          new XTRs with vertical rear posts.  And, for good measure,  Baker

          had been sued  in 1985  based on a  similar XTR "rack  underride"

          claim  which  settled in  1989.   See  DeMarzo v.  Baker Material
                                            ___  _______     ______________

          Handling  Corp, No. 477122 (Orange  Cty. Sup. Ct.  filed Dec. 20,
          ______________

          1985) ("DeMarzo"). 
                  _______

                    Baker  filed a motion in limine to preclude evidence of
                                          __ ______

          its  incorporation  of vertical  rear  posts  in the  BRT-design,

          asserting lack  of relevance  and  undue prejudice,  see Fed.  R.
                                                               ___

          Evid. 402, 403.   It  contended that incorporating  posts in  the

          earlier  XTR-design would have impeded steering,  as well as safe
                   ___

          egress by the operator  in the event of a crash  or rollover.  On

          the other hand, its repositioning of the steering controls in the

          BRT-design had alleviated  the operational impediment and  hazard
          ___

          associated with  incorporating posts  in its XTR-design.   Conse-
                                                       ___

          quently, urged Baker,  the BRT-design would be irrelevant  to the


                                          4














          determination whether  the absence of vertical rear  posts in the

          XTR-design  created an  unreasonably  dangerous  condition.   The

          motion in limine was granted on the eve of trial.  
                 __ ______

                    At trial, Baker incorrectly represented in  its opening

          statement that the  evidence would  show that the  XTR had  never

          been involved in a  "rack underride" accident and that  Baker had

          never installed vertical rear  posts in an XTR.   Although appel-

          lants had already  learned about the 1985 DeMarzo  XTR litigation
                                                    _______

          and Baker's  undisclosed XTR modifications, they  neither alerted

          the district  court nor mentioned these matters  in their opening

          statement. 

                    During trial, appellants elicited from Manfred Baumann,

          Baker's vice-president for engineering  and the officer in charge

          of litigation,  that  company files  contained no  record of  any

          prior "rack  underride" incident  involving the XTR  forklift and

          that Baker had  never installed  vertical rear posts  in an  XTR,

          though it  was in fact  feasible to do so.   Whereupon appellants

          confronted Baumann with depositions  taken in the DeMarzo litiga-
                                                            _______

          tion, and  with Boston Edison records,  indicating that Baumann's

          testimony on both points was inaccurate, as Baumann was forced to

          concede.2
                              
          ____________________

               2According to  Baumann, the DeMarzo litigation  file had not
                                           _______
          been entered on the master-file list until  after Baker responded
          to the  initial interrogatories, and the  information relating to
          the  XTR modifications  made by  Baker at  the request  of Boston
          Edison  had been placed in  the Boston Edison  client sales file,
          rather than the XTR file.  He testified that there were more than
          100,000 client sales files, and that it was not until he had been
          told of the modifications  to the Boston Edison XTRs  that he had
          searched  its client sales file.   Further, Baumann admitted that

                                          5














                    Notwithstanding their denudation  of Baker's  discovery

          lapses, appellants elected not to request sanctions or a continu-

          ance to pursue further  discovery, choosing instead to capitalize

          on  Baker's "cover-up"  in  their closing  argument.   Apparently

          unimpressed,  the jury found for  Baker on all  three theories of

          liability;  judgment  entered; and  appellants  moved  for a  new

          trial, see  Fed. R. Civ. P.  59(a), or for  relief from judgment,
                 ___

          id. 60(b)(3), alleging prejudice  from the order precluding their
          ___

          BRT-design evidence  and from  Baker's responses  to interrogato-

          ries.  

                    On  appeal, appellants attack  the district court judg-

          ment, asserting  reversible error in the  ruling precluding their

          BRT-design evidence.  Their discovery abuse claim forms the basis

          for the  appeal  from the  denial of  their postjudgment  motion.

          Appellants speculate  that they  were unfairly prejudiced  by the

          inaccurate  responses  to interrogatories,  notwithstanding their

          decision not to request Rule 37 relief, since it is impossible to

          determine what would have been disclosed in full discovery.  


                                          II
                                          II

                                      DISCUSSION
                                      DISCUSSION
                                      __________

          A.   Appeal from the Judgment
          A.   Appeal from the Judgment
               ________________________

                    The  district  court  order precluding  the  BRT-design

          evidence is  reviewed for abuse of discretion.   Espeaignnette v.
                                                           _____________

                              
          ____________________

          Baker's responses to the initial interrogatories had been inaccu-
          rate  and that he had  not reexamined the  Baker litigation files
          before responding to the supplemental interrogatories. 

                                          6














          Gene Tierney  Co., Inc.,  43 F.3d 1,  5 (1st  Cir. 1994)  ("'Only
          _______________________

          rarely -- and in extraordinarily compelling circumstances -- will

          we, from the vista of a cold appellate record, reverse a district

          court's on-the-spot judgment concerning the relative  weighing of

          probative  value and  unfair effect.'"  Freeman v.  Package Mach.
                                                  _______     _____________

          Co., 865 F.2d 1331,  1340 (1st Cir. 1988).   Notwithstanding this
          ___

          deferential standard  of review, the Espeaignnette panel reversed
                                               _____________

          a  similar ruling, Espeaignnette, 43 F.3d at 8-9, where the issue
                             _____________

          was  whether a lawn-edger design,  which made no  provision for a

          protective guard over the cutting blade, was unreasonably danger-

          ous.   Id.  at 4.   The  defendant-manufacturer conceded  that it
                 ___

          would be  feasible to attach  a protective guard,  but maintained

          that  normal operation of the edger would  be impeded.  Id. at 6.
                                                                  ___

          The district court precluded evidence that a third party had made

          a business of attaching  protective guards to the identical  lawn

          edger model, even though  the evidence showed that  the modifica-

          tion  at issue  was  "both possible  and  practical".   Id.   The
                                                                  ___

          Espeaignnette  panel reversed  on the  ground that  the proffered
          _____________

          modification evidence was highly probative and entailed no unfair

          prejudice  because,  if credited,  it  directly controverted  the

          defendant-manufacturer's  claim  that  the proposed  modification

          would impede normal edger functioning.  Id. at 6-8.  
                                                  ___

                    The superficial similarities between  Espeaignnette and
                                                          _____________

          the instant case are  outweighed by more fundamental dissimilari-

          ties.  First, both cases implicate Rule 403 rather than Rule 407,

          though  for different reasons.  Espeaignnette noted that Rule 407
                                          _____________


                                          7














          has no application  to third-party modifications,  id. at 7;  see
                                                             ___        ___

          also Raymond v. Raymond  Corp., 938 F.2d 1518, 1524-25  (1st Cir.
          ____ _______    ______________

          1991)  (Rule 407 applies only to  subsequent remedial measures by

          manufacturer, not by  third parties), whereas  Rule 407 does  not

          apply  to the  instant case  because the  BRT-design modification

          preceded Chapman's accident.   See id. at 1523-24 (Rule  407 does
                                         ___ ___

          not  apply  to design  modifications  made prior  to  accident in

          litigation) (upholding  exclusion under  Rule 403).   Second, the

          modification  in Espeaignnette  had  been performed  on an  edger
                           _____________

          identical to the one  which injured the plaintiff, Espeaignnette,
                                                             _____________

          43 F.3d at  6, whereas the modification  in the instant case  was

          made to the BRT-design, which was substantially dissimilar to the

          XTR which injured Chapman.  See also infra p. 8.  
                                      ___ ____ _____

                    The  district court found  that the BRT  was not suffi-

          ciently  similar to the XTR,  a finding we  review only for clear

          error.  Cameron v. Otto Bock Orthopedic Indus., Inc., 43 F.3d 14,
                  _______    _________________________________

          16  (1st Cir.  1994) (findings  of  fact integral  to evidentiary

          rulings  are reviewed  for clear  error).   Its finding  is amply

          supported.   Appellants' own expert testified  that vertical rear

          posts  could not practicably be incorporated in the XTR unless it

          underwent  major redesign.  Whereas the  record revealed that the

          BRT-design   could  accommodate  vertical  rear  posts  precisely

          because  its  steering  controls  had been  repositioned  in  the

          operator's  cabin so  that  the posts  would  not interfere  with

          steering.  

                    The Raymond  case, supra, provides  sturdy support  for
                        _______        _____


                                          8














          the  district court ruling.3   It involved  a claim that  a side-

          loader  design was  defective for  lack of  vertical rear  posts.

          Raymond, 938 F.2d at 1522.  The decedent had been fatally injured
          _______

          by  a beam which penetrated  the sideloader operator's cabin, id.
                                                                        ___

          at 1520, and the district court excluded evidence that rear posts

          were included in a later design that predated the  accident.  Id.
                                                                        ___

          at  1522-23.  We upheld the exclusionary ruling, with the follow-

          ing explanation:   "the introduction of  evidence of pre-accident

          design modifications not made  effective until after the manufac-

          ture of  the allegedly defective product may  reasonably be found

          unfairly prejudicial to the defendant  and misleading to the jury

          for determining the question whether the product was unreasonably

          dangerous at the time of manufacture and sale." Id. at 1524.  The
                                                          ___

          Raymond logic is no less apt in this case.  
          _______

                    Finally, the evidence excluded  in the instant case was

          by no means  the most  probative available on  the ultimate  jury

          issue; viz., whether the XTR-design should have included vertical

          rear posts.  Whereas the best evidence relating to the safety and

          practicality  considerations involved  in Espeaignnette  had been
                                                    _____________

          that  a  third party  was making  a  business of  incorporating a

          protective  guard on the identical edger,  the best evidence that

          the  XTR could accommodate vertical  rear posts was the uncontro-
               ___ _____ ___________

          verted proof    presented to  the jury    that Baker in  fact had

                              
          ____________________

               3Although Raymond  involved New  Hampshire law, 938  F.2d at
                         _______
          1520, we recently held that its logic applies as well  to "design
          defect"  and "failure  to warn"  claims under  Massachusetts law.
          Cameron, 43 F.3d at 18. 
          _______

                                          9














          installed  posts in  the  XTRs  it  modified at  Boston  Edison's

          request.   The  evidence that  posts had  been installed  in XTRs

          diminished not only the need to establish their  incorporation in

          the noncomparable  BRT-design, but any unfair  prejudice from its

          exclusion.  Thus, the district court did not abuse its discretion

          in concluding that the  required Rule 403 balancing tipped  deci-

          sively  in  favor of  preclusion.   Espeaignnette,  43 F.3d  at 6
                                              _____________

          (centrality  of  disputed evidence  to  party's  claim is  strong

          factor in Rule 403 balancing test) (collecting cases).  

          B.   Appeal from the Denial of Postjudgment Relief
          B.   Appeal from the Denial of Postjudgment Relief
               _____________________________________________

                      We  review  orders  disallowing  postjudgment  relief

          under rules 59  and 60(b)(3)  for abuse of  discretion.   Perdoni
                                                                    _______

          Bros., Inc. v. Concrete Systems, Inc., 35 F.3d 1, 5 n.5 (1st Cir.
          ___________    ______________________

          1995) (Rule 59);  Fernandez v.  Leonard, 963 F.2d  459, 468  (1st
                            _________     _______

          Cir. 1992) (Rule 59  and Rule 60(b)(3)); United States  v. Parcel
                                                   _____________     ______

          of  Land &amp;  Res. at 18  Oakwood Street,  958 F.2d 1,  5 (1st Cir.
          ______________________________________

          1992) (Rule 60(b)(3)).   The district court rulings  that Baker's

          inaccurate responses to interrogatories neither constituted fraud

          nor resulted in substantial interference with the preparation and

          presentation of  appellants' case  are reviewed for  clear error.

          Anderson  v. Beatrice Foods, Co.,  900 F.2d 388,  392 (1st Cir.),
          ________     ___________________

          cert. denied, 498 U.S. 891 (1990).
          _____ ______

                    Appellants  argue that  the district  court abused  its

          discretion  by not  affording them  postjudgment relief  based on

          Baker's  slipshod  and misleading  responses  to interrogatories,




                                          10














          which denied them a  fair trial.4   Among the available forms  of

          relief  from prejudice  occasioned  by  discovery violations  are

          curative measures such as  continuances and stays pending compli-

          ance,  orders  tailored  to  effect  issue  preclusion,  contempt

          orders, and default  judgments.   See R.W. Int'l  Corp. v.  Welch
                                            ___ _________________     _____

          Foods,  Inc., 937  F.2d  11, 15-20  (1st  Cir. 1991)  (discussing
          ____________

          grounds for Rule 37 sanctions); Fed. R. Civ. P. 37(b)(2),(3).  

                    Appellants' claim fails, nonetheless,  as they opted to

          proceed  rather than  request  relief under  Rule 37,  presumably

          because the  information Baker did not disclose  had become known

          to appellants  before or  during trial.   Moreover,  though their

          gambit proved  unsuccessful, there  was both method     potential

          advantage    in their  stratagem and little to lose.  Since there

          is even now no concrete  suggestion that further discovery  would

          have benefited them, their prospects for obtaining Rule 37 relief

          appear all along to have been minimal compared with the potential

          jury  impact their  "cover-up" claim  might reasonably  have been

          expected to occasion.         Thus,  appellants' decision  to use

          their  hole  card in  an abortive  gambit  with the  jury plainly

          waived any claim  that their  decision to forego  Rule 37  relief

          rendered the  trial unfair.   The appropriate remedy  for parties

                              
          ____________________

               4Appellants rely on Anderson v. Cryovac, Inc., 862 F.2d 910,
                                   ________    _____________
          923 (1st Cir. 1988),  for their contention that a  district court
          may  grant  relief from  judgment and  a  new trial  even  if the
          failure to provide requested  discovery was inadvertent.  Follow-
          ing  our remand in Cryovac, the district court denied relief from
                             _______
          judgment under Rule 60(b) notwithstanding its finding of deliber-
                                                                   ________
          ate discovery abuse.  We nevertheless upheld its ruling.  Beatri-
          ___                                                       _______
          ce Foods Co., 900 F.2d at 391-92. 
          ____________

                                          11














          who uncover  discovery violations is "not to  seek reversal after

          an  unfavorable verdict but a request for continuance at the time

          the  surprise occurs."  Szeliga v. General Motors Corp., 728 F.2d
                                  _______    ____________________

          566, 568 (1st  Cir. 1984); see  United States v.  Diaz-Villafane,
                                     ___  _____________     ______________

          874 F.2d 43,  47 (1st  Cir.) (criminal case),  cert. denied,  493
                                                         _____ ______

          U.S. 862 (1989).  Here, of  course, there appears to have been no

          genuine surprise.  Nor can appellants  plausibly suggest that the

          district  court abused  its discretion  by declining  their post-

          judgment  motion for  relief from  the unwelcome  consequences of

          their calculated decision.  Ojeda-Toro v. Rivera-Mendez, 853 F.2d
                                      __________    _____________

          25, 29  (1st Cir. 1988)  ("[A] party  may not prevail  on a  Rule

          60(b)(3) motion . . . where [it] has access to disputed  informa-

          tion or has  knowledge of inaccuracies in an opponent's represen-

          tations  at the  time  of the  alleged misconduct.")  (collecting

          cases).  


                                         III
                                         III

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    As the district court did  not abuse its discretion  in

          precluding  the dissimilar  BRT-design  evidence  nor in  denying

          postjudgment relief under Rules 59 and  60(b)(3), its judgment is

          affirmed. 
          ________











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